                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                               TEXARKANA DIVISION

JERRAL W. JONES,
     Plaintiff,

vs.                                                   CIVIL ACTION No. 5:23-cv-00032-RWS

ALEXANDRA DAVIS and CYNTHIA                                         JURY TRIAL DEMANDED
DAVIS f/k/a CYNTHIA DAVIS-SPENCER,
     Defendants,


                          PLAINTIFF JERRAL W. JONES’S
                   NOTICE OF DISCLOSURE (TRIAL WITNESS LIST)

       In accordance with the Court’s Discovery Order (Dkt. 39), Plaintiff Jerral W. Jones, by and

through his undersigned attorneys, hereby notifies the Court that he has complied with the Court’s

Docket Control Order (Dkt. 38) by serving his Trial Witness List on all counsel of record via

electronic mail on April 30, 2024.




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Dated: April 30, 2024.

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                   ATTORNEYS FOR PLAINTIFF JERRAL W. JONES


                                    CERTIFICATE OF SERVICE

        On April 30, 2024, I electronically submitted the foregoing document with the clerk of the
court of the U.S. District Court, Eastern District of Texas, using the electronic case filing system
of the court. I hereby certify that I will serve all counsel and/or pro se parties of record
electronically or by another manner authorized by Federal Rule of Civil Procedure 5(b)(2).


                                              /s/ Edwin Buffmire
                                              Edwin Buffmire


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